Case 1:17-cv-04853-JSR Document 171 Filed 02/15/22 Page1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Plaintiffs, 17-cv-4853 (JSR)

FINAL JUDGMENT

THE NEW YORK TIMES COMPANY
and JAMES BENNETT,

Defendants.

JED S. RAKOFF, U.S.D.Jd.:

In view of the jury having returned a verdict of not-liable, and
independently, for the reasons stated by the Court previously in
granting Defendants’ Rule 50 motion, final judgment is hereby entered
dismissing the complaint with prejudice.

ADJUDGED AND DECREED.

New York, NY DK —

February 15, 2022 JEB S. RAKOFF, U.S.D.Jd.

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